                                     Case 3:20-cv-05671-JD Document 623-94 Filed 12/21/23 Page 1 of 2

      From:                 Alex Rofman              gapple.com)
      To:                   Carson Oliver                  rgapple.com)
      CC:                   Ann Thai (            gapple.com)
      BCC:
      Subject:              Re: Google now lets apps display sale prices in the Play Store - The Verge
      Attachments:
      Sent:                 02/28/2017 07:52:06 PM 0000(GMT)

      7

          On Feb 28, 2017, at 8:15 AM, Carson Oliver                    rgapple.com> wrote:

          We should have done this 2 years ago.


          Carson Oliver

          Begin forwarded message:


            From: John Wu           @apple.com,
            Date: February 28, 2017 at 7:52:47 AM PST
            To:                        group.apple.com
            Subject: Google now lets apps display sale prices in the Play Store - The Verge



            http://www.theverge.com/2017/2/28/14760940/google-play-store-app-sales


            Google now lets apps display sale prices in the Play Store




                                                                                                       Adventure Run Game [-Ii




            Google

            Google is now providing a formal way for developers to offer a sale on their apps, letting potential buyers know exactly how much of a discount they're getting and how long the sale is going to run for.

            It's taken a weirdly long time for Google to add this feature for developers. Other content in the Play Store, like TV shows, have already been able to indicate sale prices. But developers have had to
            manually change the price of their app if they wanted to offer a discount.



            "This is much clearer than the old way ofoffering a sale"



            That was a frustrating approach since it didn't signal to visitors that a discount was being offered, and repeat viewers may have been left wondering why an app's price kept changing.




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                                                                                                                      EXHIBIT 6839
                                                                                                                                                                                           EXHIBIT 6839-001
                                 Case 3:20-cv-05671-JD Document 623-94 Filed 12/21/23 Page 2 of 2

         Now,apps that are on sale will show a crossed-out "list price" above a purchase button that features the sale price. A banner will appear beneath the button stating when the sale will end.

         Google has put a number of restrictions on how developers can offer sales, seemingly to prevent apps from permanently being offered at a discount to trick potential buyers. Sales must discount the app
         by at least 30 percent, last at least one full day, and last no longer than eight days. Developers will also have to wait 30 days after the end of one sale before starting a new one.

         Finally, sales only affect the app's purchase price — they aren't able to be offered on subscriptions or in-app purchases.

         This is a small update overall, but it really ought to be handy for both developers and consumers. Developers get a new way to promote their apps, and consumers get clarity and lower pricing.

         If we're lucky, maybe Apple will bring this feature to the iTunes Store one of these years.



         Sent from my iPhone




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